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N E W Y O R K, N Y
L O S A N G E L E S, C A
S A N F R A N C I S C O, C A
W I L M I N G T O N, D E
H O U S T O N, T X

780 THIRD AVENUE                    The Honorable Michael B. Kaplan
34th FLOOR                          United States Bankruptcy Court,
NEW YORK
NEW YORK 10017-2024
                                     District of New Jersey
TELEPHONE: 212.561.7700
                                    Clarkson S. Fisher US Courthouse
FACSIMILE: 212.561.7777             402 East State Street, Courtroom #8
                                    Trenton, New Jersey 08608
LOS ANGELES
10100 SANTA MONICA BLVD.                    Re:     LTL Management, LLC, Case No. 21-30589 (MBK)
13th FLOOR
LOS ANGELES
                                   Dear Judge Kaplan:
CALIFORNIA 90067-4003

TELEPHONE: 310.277.6910
                                           We represent Arnold & Itkin (“A&I”), a law firm
FACSIMILE: 310.201.0760
                                   representing approximately 7,000 talc personal injury claimants, and
SAN FRANCISCO
                                   write in advance of the hearing on Arnold & Itkin’s motion to
ONE MARKET PLAZA, SPEAR TOWER      dismiss (the “Motion”) to move in limine to exclude on relevance
40th FLOOR, SUITE 4000             grounds any evidence that Debtor may offer concerning any alleged
SAN FRANCISCO
                                   financial distress suffered by non-Debtor Johnson & Johnson
CALIFORNIA 94105-1020
                                   Consumer Inc. (“Old JJCI”) as a result of its talc liabilities,
TELEPHONE: 415.263.7000

FACSIMILE: 415.263.7010
                                   including but not limited to the expert opinions of Dr. Gregory K.
                                   Bell.
DELAWARE
919 NORTH MARKET STREET                    “The purpose of a motion in limine is to bar irrelevant,
17th FLOOR                         inadmissible, and prejudicial issues from being introduced at trial,
P.O. BOX 8705
                                   thus narrowing the evidentiary issues for trial.” Karpf v. Mass. Mut.
WILMINGTON
DELAWARE 19899-8705
                                   Life Ins. Co., No. 10-1401, 2019 U.S. Dist. LEXIS 19209, at *18
TELEPHONE: 302.652.4100
                                   (E.D. Pa. Feb. 5, 2019) (internal quotation marks and alterations
FACSIMILE: 302.652.4400
                                   omitted).

TEXAS                                       A&I expects that the Debtor will offer evidence (from Dr.
440 LOUISIANA STREET               Bell or otherwise) that Old JJCI’s continued participation in the tort
SUITE 900
                                   system was not sustainable for a variety of reasons, including
HOUSTON
TEXAS 77002-1062
                                   litigation costs, reputational harm and drain on finances. See
TELEPHONE: 713.691.9385
                                   Debtor’s Objection to the Motions to Dismiss [Docket No. 956] (the
FACSIMILE: 713.691.9407
                                   “Objection”) at 2, 11. However, this evidence is not probative of


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                       the Debtor’s financial state and is therefore irrelevant; and even if it
                       had any probative value (which it does not), that value is
                       outweighed by the confusion, delay, and waste of time that its
                       admission will cause. See Fed. R. Evid. 403.

                               First, Old JJCI is not the Debtor, the only party whose
                       financial state matters for purposes of the Motion. For purposes of
                       applying the “financial distress” element of the “good faith” test in
                       this Circuit, the question is whether the Debtor is in financial
                       distress (here, as a result of the pending talc litigation).
                       NMSBPCSLDHB, L.P. v. Integrated Telecom Express, Inc. (In re
                       Integrated Telecom Express, Inc.), 384 F.3d 108, 121 (3d Cir. 2004)
                       (“good faith necessarily requires some degree of financial distress
                       on the part of a debtor” (emphasis added)); Schwartz v. Rent-A-
                       Wreck of Am., Inc. (In re Rent-A-Wreck of Am., Inc.), 596 B.R. 112,
                       118 (D. Del. 2019) (access to bankruptcy process “assumes a debtor
                       in financial distress” (emphasis added)). Johnson & Johnson
                       (“J&J”) elected not to file a chapter 11 case for Old JJCI (or even to
                       have it remain in existence), but instead to form a bespoke entity,
                       LTL Management LLC, to become the Debtor in its stead. J&J
                       created LTL to sit by itself in bankruptcy; and only LTL’s financial
                       state, and not that of Old JJCI, is relevant to the Motion. As the
                       Third Circuit has observed, “[c]ourts…have consistently dismissed
                       Chapter 11 petitions filed by financially healthy companies with no
                       need to reorganize under the protection of Chapter 11.” Official
                       Comm. of Unsecured Creditors v. Nucor Corp. (In re SGL Carbon
                       Corp.), 200 F.3d 154, 166 (3d Cir. 1999) (emphasis added).
                       Whatever Old JJCI’s state of financial distress or otherwise (and
                       A&I contends it was not in distress), its condition cannot be imputed
                       to LTL.

                               Second, Old JJCI’s former financial state bears no
                       relationship to Debtor’s present financial state. Debtor was carved
                       out of Old JJCI and has a financial structure (consisting of a $6
                       million contribution; possible funding of a Qualified Settlement
                       Trust; a limited royalty stream; and a Funding Agreement that
                       assertedly requires J&J and New JJCI to fund the payment of the
                       costs of resolving and satisfying talc personal injury claims against
                       the Debtor as set forth therein) that is completely different from that
                       of Old JJCI (a consumer health care business deriving revenue from
                       the sale of consumer products). There is no dispute that Old JJCI is
                       not the Debtor; and Old JJCI’s business model, revenue streams,


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                       intercompany agreements, and funding sources available to satisfy
                       talc personal injury claims differs vastly from those of the Debtor.
                       Indeed, Old JJCI does not even exist today.

                               As a matter of law and fact, Old JJCI’s purported financial
                       distress is irrelevant to A&I’s Motion, and all evidence and
                       testimony – including but not limited to Dr. Bell’s report and
                       opinions – concerning any alleged financial distress of Old JJCI
                       should be excluded.

                                                     Very truly yours,

                                                     /s/ John A. Morris

                                                     John A. Morris

                       JAM

                       cc:      Laura Davis Jones
                                Mark Rasmussen
                                Brian Glasser
                                Jeffrey Jonas
                                (all by email)




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